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                                                               Ex. A-2
                         August Bernaerts, et al. v. Islamic Republic of Iran, No. 1:19-cv-11865 (GBD) (SN)

                                            (Alphabetically by Last Name of 9/11 Decedent)

                      DECEDENT                                PLAINTIFF                           Relationship   SOLATIUM
         DECEDENT                DECEDENT        PLAINTIFF                PLAINTIFF   PLAINTIFF
                       Middle                                  Middle                               to 9/11      DAMAGES
         First Name              Last Name       First Name               Last Name     Suffix
                        Name                                    Name                               Decedent       AMOUNT

    1.    Raymond                  Sanchez       Raymond                   Sanchez        Jr.        Child        $8,500,000.00

                                                                                                     Child
    2.     Donnie      Brooks      Taylor         Donnie       Brooks       Taylor        Jr.                     $8,500,000.00
                                                                                                  (Deceased)


         TOTAL                                                                                                   $17,000,000.00




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